
Art of Healing Medicine, P.C., as Assignee of KEMAR GAYLE, Appellant,
againstUtica Mutual Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered December 3, 2013. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff's assignor had failed to appear for duly scheduled examinations under oath.
For the reasons stated in Art of Healing Medicine, P.C., as Assignee of Owen Minns v Utica Mut. Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op _____ [appeal No. 2013-2716 Q C], decided herewith), the order is affirmed.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: November 01, 2016










